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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                JUDGE R. BROOKE JACKSON


Criminal Action:       20-cr-00087-RBJ                      Date: October 26, 2020
Courtroom Deputy:      Julie Dynes                          Court Reporter: Sarah Mitchell
Interpreter:           N/A                                  Probation: Amber Dodson

                Parties                                                Counsel

 UNITED STATES OF AMERICA                                           Julia Martinez
                 Plaintiff

 v.

 1. TIMOTHY HUMMEL                                                  David Johnson
                Defendant


                                   COURTROOM MINUTES


SENTENCING HEARING VIA VIDEO CONFERENCE

Court in session:      2:30 p.m.

Appearances of counsel and probation via video conference.

Defendant present on bond via video conference.

Argument given on sentencing.

Pause in proceedings due to technical difficulties.

2:47 p.m.      Court in recess.
2:51 p.m.      Court in session.

Additional argument given on sentencing.

Statement by the Court regarding defendant's offense level, criminal history level and sentencing
guidelines range.

Court states its findings and conclusions.
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ORDERED: [31] Government’s Motion for Downward Variance is DENIED.

              [32] Motion for Below-Guideline Sentence is GRANTED.

              [35] Government’s Motion to Dismiss Counts One, Three, and Four is
              GRANTED.

ORDERED: Defendant shall be imprisoned for TIME SERVED as to Count Two of the
         Indictment.

              Upon release from imprisonment, the defendant shall be placed on supervised
              release for a period of 3 years.

              Standard/Mandatory/Discretionary Conditions of Supervised Release, as
              stated on the record, including a $100.00 Special Assessment fee, to be paid
              immediately.

Defendant advised of right to appeal. Any notice of appeal must be filed within 14 days.

Court in recess: 3:08 p.m.           Hearing concluded.            Total time:    00:34
